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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                     *

       v.                                    *        Crim. Case No. SAG-23-0102

WILLIAM ZEV STEEN                             *

       Defendant                              *

                                      **********
                                          ORDER

     Having considered the two pending motions to seal, ECF 38, 41, it is this 24th day of

September, 2024, hereby ORDERED that the two pending motions to seal the sentencing

memoranda in their entireties are DENIED as overbroad. The Proposed Sealed Documents,

ECF 40, 42, shall remain sealed, and the parties are DIRECTED to file, on or before September

27, 2024, appropriately redacted versions of the sentencing memoranda redacting only identities

of minors and other similarly sensitive information while otherwise preserving public access to

court filings.

                                                         /s/
                                                  Stephanie A. Gallagher
                                                  United States District Judge
